          Case 5:13-cr-50002-TLB                       Document 153                    Filed 10/29/15             Page 1 of 1 PageID #: 843


AO 247 (Rev. 11 /1 1) Order Regardi ng Motion fo r Sentence Redu ction Pursuant to 18 U.S.C. § 3582(c)(2)           Page I of 2 (Page 2 Not for Public Disclos ure)


                                          UNITED STATES DISTRICT COURT
                                                                            fo r the

                                                           Western Distri ct of Arkan sas

                     United States of America
                                     v.                                        )
                                                                               ~    Case No:       5:13CR50002-002
                       ALFONSO MORALES
                                                     )                              USMNo: 1_1_2_56_ -_0_1 0_ _ _ _ _ _ _ _ _ __
Date of Ori g ina l Judgment:            09/04/2013  )
Date of Prev ious A mend ed Judgm ent: - - - - - - - )                              Bruce D. Eddy
(Use Date of l ast Amended Judgment if Any)                                         Defendant 's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
          Upon motion of ~ the defendant                  D the Director of the Bureau of Pri son s D the court und er 18 U.S.C.
§ 35 82(c)(2) fo r a reducti on in th e term of imprisonment imposed based on a g uide line sentenc in g range th at has
subsequently been lowered and made retroacti ve by the U ni ted States Sentencin g Commi ss ion pursuant to 28 U.S.C.
§ 994(u), and hav in g co ns idered such moti on, and tak ing into acco un t the po l icy state ment set forth at USS G § 1BI . I0
and th e sente ncing factors set fo rth in 18 U.S .C. § 355 3(a), to the extent th at they are a pplicable,

IT IS ORDERED that the motion is:
          0DENIED.               !ilGRAN TED and the defe nd ant' s prev ious ly imposed sentence of impriso nm ent (as reflected in
the last j udg ment issued) of      144                        month s is reduced to 130 months
                                                                                                            ~----'--------~

                                                (Complete Parts I and II of Page 2 when motion is granted)




Exce pt as otherw ise prov id ed, a ll prov isions of the judgment date ·
IT IS SO ORDERED.

O'd°' Oate          Otilr )i P15              1
                                                                                                            Ju dge 's signature

Effecti ve Date:             11/01/2015                                                      1mothy L. Brooks, United States District Judge
                    -  -.,---- - - - -
                    (if different fro m order date)                                                     Printed name and title
